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 1   Baruch C. Cohen, Esq. (SBN 159455)
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 2           A Professional Law Corporation
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 3   Los Angeles, California 90010
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 4   e-mail: baruchcohen@baruchcohenesq.com

 5   Attorney For Defendant Nicholas Silao

 6

 7                                  UNITED STATES BANKRUPTCY COURT

 8                                   CENTRAL DISTRICT OF CALIFORNIA

 9                                         RIVERSIDE DIVISION

10

11    In re                                      Case No. 6:17-bk-19336-SY

12    PANDORA HOSPICE CARE, INC.                 Adv. 6:18-ap-01193-SY

13            Debtor                             Before the Honorable Scott H. Yun
      _________________________________
14                                               Chapter 7
      KARL T. ANDERSON, CHAPTER 7
15    TRUSTEE                                    DEFENDANT’S MOTION TO ALLOW
                                                 WITHDRAWAL OF DEEMED
16                      Plaintiff                ADMISSIONS F.R.C.P. 36(B);
                                                 DECLARATIONS OF BARUCH C. COHEN,
17    vs.                                        NICHOLAS SILAO & SANAZ S.
                                                 BERELIANI
18    NICHOLAS SILAO

                       Defendant                 Date: 1-23-2020
19                                               Time: 9:30 am
                                                 Place: 3420 Twelfth Street, Riverside, CA
20                                               Courtroom 302
21

22

23

24             TO THE HONORABLE SCOTT H. YUN, UNITED STATES BANKRUPTCY COURT

25   JUDGE, PLAINTIFF KARL T. ANDERSON, CHAPTER 7 TRUSTEE, AND ALL INTERESTED

26   PARTIES:

27             PLEASE TAKE NOTICE that on 12-9-2019 at 10:00am in the Courtroom of the Honorable

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 1   Scott H. Yun, United States Bankruptcy Judge, Courtroom 302 located at the United States

 2   Bankruptcy Court Central District of California 3420 Twelfth Street, Riverside, CA 92501-3819,

 3   Defendant Nicholas Silao (hereinafter, "Defendant"), hereby moves to allow withdrawal of deemed

 4   admissions.

 5             The Motion will be based on this Notice, on the attached Memorandum of Points and

 6   Authorities, the declarations of Baruch C. Cohen, Nicholas Silao & Sanaz Sarah Bereliani, on all the

 7   papers and records on file in this action, and on such oral and documentary evidence as may be

 8   presented at the hearing of the Motion.

 9             Defendant bring this Motion pursuant to F.R.C.P. § 36(b) that withdrawal or amendment of

10   the Admissions that were deemed admitted : 1) would serve the presentation of the case on its merits,

11   and 2) would not prejudice the party that obtained the admissions in its presentation of the case.

12             Defendant further request $6,600.00 in sanctions be awarded his attorneys fees, due to

13   Plaintiff’s wrongful refusal to stipulate to the relief, withholding whether Plaintiff met & conferred

14   and served the Defendant, with Plaintiff’s F.R.C.P. 26 Initial Disclosures (F.R.C.P. 26(d)(1) prohibits

15   discovery before the parties have met & conferred as required by F.R.C.P. 26(f).

16             Pursuant to Local Bankruptcy Rule 9013-1, any objection or response to this Motion must be

17   stated in writing, filed with the Clerk of the Court and served on Defendant and his counsel no later

18   than fourteen days prior to the hearing. Failure to so state, file and serve any opposition may result

19   in the Court failing to consider the same.

20

21   DATED:           January 22, 2020             LAW OFFICE OF BARUCH C. COHEN, APLC

22                                                 By     /S/ Baruch C. Cohen
                                                   Baruch C. Cohen, Esq.
23                                                 Attorney For Defendant Nicholas Silao

24

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19   Conlon, 474 F.3d at 623 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -13-

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21   Donovan v. Carls Drug Co., Inc., 703 F.2d 650, 652 (2d Cir. 1983) . . . . . . . . . . . . . . . . . . . . -13-

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 1   1.        MEMORANDUM OF POINTS & AUTHORITIES

 2             a.     FACTS

 3             On 11-8-2017, the Debtor Pandora Hospice Care, Inc., commenced this bankruptcy

 4   proceeding Case No. 6:17-bk-19336-SY.

 5             On 10-2-2018, Plaintiff filed this adversary action entitled: Karl T. Anderson against Nicholas

 6   Silao, Adversary case 6:18-ap-01193 [Doc-1]

 7             On 10-31-2018, Defendant, represented by Sanaz S. Bereliani filed an Answer to the

 8   Complaint [Doc-4].

 9             On 1-2-2019, the parties filed a Joint Status Report [Doc-5]. Of particular interest, in Section

10   A4 of the Joint Status Report the parties acknowledged that they did not meet & confer pursuant to

11   LBR 7026-1.1

12             Pursuant to the Status Conference and Scheduling Order Pursuant to LBR 7016-1(a)(4) [Doc-

13   10], the discovery cutoff was 6-28-2019, the pre-trial stipulation was due 8-1-2019, the pretrial

14   hearing was 8-15-2019, and the mediation completion date was 7-31-2019.

15             On 3-15-2019, Defendant’s counsel Bereliani moved to withdraw as counsel of record [Doc-

16   12], and on 4-16-2019, the Court entered its Order Granting Motion To Withdraw As Counsel Of

17   Record [Doc-16].

18             On 8-7-2019 at 10:42am, Defendant wrote Berliani (copying Cohen) and demanded his file

19   from her pursuant to the California Rule of Professional Responsibility 4-100(B)4, that provides that

20   an attorney must promptly pay or deliver, as requested by the client, any funds, securities, or other

21   properties in the possession of the member which the client is entitled to receive.2

22             On 8-7-2019, at 2:18pm, Berliani wrote back: " Not much - Nick went MIA on us shortly after

23   the beginning and we just bought him time with the Tee's attorney... " and sent the following 12

24
               1
25           A true and correct copy of the 1-2-2019 Joint Status Report [Doc-5] is attached hereto as
     Exhibit “1” and is incorporated herein by this reference.
26
               2
              A true and correct copy of Defendant’s 8-7-2019 letter to Berliani (copying Cohen)
27   demanding his file from her pursuant to the California Rule of Professional Responsibility 4-100(B)4
     is attached hereto as Exhibit “2” and is incorporated herein by this reference.
28

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 1   documents: (1) The Complaint; (2) Your Retainer Agreement; (3) A Waiver of Conflict of Interest

 2   for a Joint Representation signed by Nick Silao; (4) A Waiver of Conflict of Interest for a Joint

 3   Representation signed by Ray Silao; (5) A Paypal receipt of Nick''s payment to you; (6) the Answer

 4   to the Complaint; (7) Another copy of the Answer to the Complaint; (8) the filed JSR; (9) the filed

 5   Scheduling Order; (10) a blank form Substitution of Attorney; (11) the Order Granting your Motion

 6   to Withdraw; & (12) the LOU receipt of her Order Granting her Motion to Withdraw.3

 7             On 8-8-2019, at 6:53am, Cohen wrote Berliani: "Thx for the prompt reply. Did Plaintiff send

 8   you Plaintiff's FRCP 26 Initial Disclosures? If so, please send it. Was any discovery done in this

 9   adversary? If so, please send them."4

10             On 8-8-20189 at 8:216am, Berliani responded: "Per my previous email, there was no

11   communication by your client so no nothing further was done. They retained me on a limited scope

12   and were not in touch after with further instruction or guidance. I recommend calling Trustees counsel

13   regarding case status, I’m surprised they haven’t filed anything else yet. Nick got lucky."5

14             On 8-9-2019, Defendant retained litigation counsel Baruch Cohen to defend him in this action,

15   who then filed the Substitution of Attorney [Doc-25] on 8-12-2019

16             Before being retained, Cohen specifically inquired of Defendant and Ms. Bereliani whether

17   they received any discovery from Plaintiff in this adversary, whether they received a proposed Joint

18   Pre-Trial from Plaintiff, & whether they received any FRCP 26 Initial Disclosures from Plaintiff.

19   While Ms. Bereliani withdrew from the case in 4-16-2019, Cohen still inquired of her too, just in case.

20   Both Ms. Bereliani & Defendant informed Cohen that they did not receive any of the aformentioned

21   from Plaintiff. On that basis, Cohen took the case.

22             Cohen was prepared to file a declaration pursuant to LBR 7016-1(E)(2), when he checked

23
               3
24           A true and correct copy of Berliani’s 8-7-2019 letter to Defendant (copying Cohen) is
     attached hereto as Exhibit “3” and is incorporated herein by this reference.
25
               4
             A true and correct copy of Cohen’s 8-8-2019 letter to Berliani is attached hereto as Exhibit
26   “4” and is incorporated herein by this reference.
27             5
             A true and correct copy of Berliani’s 8-8-2019 letter to Cohen is attached hereto as Exhibit
     “5” and is incorporated herein by this reference.
28

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 1   PACER and discovered Plaintiff’s Unilateral Pre Trial and Declaration filings of 8-8-2019, and was

 2   surprised, to see that Plaintiff claimed that he indeed propounded discovery to Defendant - Request

 3   for Admissions ("RFA's") and that Defendant did not respond, and Plaintiff is deeming the following

 4   admissions, admitted:

 5             RFA # 4. The Debtor loaned/transferred $137,000 to Defendant, Nicholas Silao. The Debtor’s

 6   2016 Federal Income Tax Returns signed under penalty of perjury reflected the outstanding loan owed

 7   by Defendant, Nicholas Silao to the Corporate Debtor. (Unresponded to Request for Admission No.

 8   1).

 9             RFA # 5. Pursuant to the Debtor’s 2016 Federal Income Tax Returns, Defendant, Nicholas

10   Silao owes the Plaintiff/Chapter 7 Trustee no less than $137,000, plus any and all costs of collection.

11   (Unresponded to Request for Admission No. 4).

12             RFA # 6. Plaintiff/Chapter 7 Trustee is entitled to pre-judgment interest as provided under

13   applicable non-bankruptcy law (Unresponded to Request for Admission No. 5).

14             RFA # 7. Defendant, Nicholas Silao has no defenses and/or counterclaims to Plaintiff/Chapter

15   7 Trustee’s demand for $137,000. (Unresponded to Request for Admission No. 6).

16             RFA # 8. Defendant, Nicholas Silao has no facts that dispute Plaintiff/Chapter 7 Trustee’s

17   entitlement to $137,000 demanded in the Trustee’s Complaint. (Unresponded to Request for

18   Admission No. 7).

19             RFA # 9. Defendant, Nicholas Silao has no documents, notes or other writings that disputes

20   the Trustee’s entitlement to $137,000 demanded in the Trustee’s Complaint. (Unresponded to Request

21   for Admission No. 8).

22             RFA # 10. Defendant, Nicholas Silao has no witnesses that dispute the Trustee’s entitlement

23   to $137,000 demanded in the Trustee’s Complaint. (Unresponded to Request for Admission No. 9).6

24             On 8-9-2019 at 6:34am, Cohen wrote Berliani informing her that Plaintiff's Unilateral Pretrial

25   stated that he indeed propounded discovery Request for Admissions ("RFA's") to the Defendant, that

26

27             6
             A true and correct copy of Plaintiff’s 8-8-2019 Unilateral Pretrial & Declaration is attached
     hereto as Exhibit “6” and is incorporated herein by this reference.
28

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 1   Defendant did not respond to, and that they are now deemed admitted. Cohen asked Berliani why

 2   wasn't Cohen given copies of this discovery?”7

 3             On 8-9-2019 at 12:17pm, Berliani responded: "Ps I'll speak to my office regarding receipts

 4   of anything on their end but please note we were retained specifically for an answer and joint status

 5   report and conference. We had no further involvement or guidance. Lastly, I appreciate your

 6   professionalism going forward."

 7             On Friday 8-9-2019 at 11:22am, Cohen wrote Plaintiff’s counsel to meet & confer regarding

 8   Plaintiff’s Unilateral Pre Trial [Doc-23] and Declaration [Doc-24] in advance of the upcoming Pre

 9   Trial hearing of 8-22-2019.8

10             Specifically, Cohen asked Plaintiff’s counsel: (1) to see Plaintiff’s F.R.C.P. 26 Initial

11   Disclosures; (2) to See Plaintiff’s Discovery; (3) to show Plaintiff that Defendant has evidence to

12   dispute Plaintiff’s turnover claim for $137,000.00; & (4) to seek clarification regarding Plaintiff’s

13   efforts to meet & confer with Defendant regarding the Joint Pre-Trial Report.

14             On Sunday 8-11-2019, Plaintiff’s counsel emailed Cohen stating: “Thanks for your email.

15   Please know I will not litigate this matter via email, thus if you believe your client is entitled to relief

16   from the Court, please file a properly noticed motion pursuant to the Local Bankruptcy Rules.

17   Consequently, at this point we are proceeding in the ordinary course pursuant to the Court’s

18   presently set scheduling order. Finally, if you intend to proceed with any type of judicial relief, please

19   note I’ll be traveling to and from Shanghai China for my son’s college freshman activities between

20   the afternoon of August 22 and returning to the OC on or about August 29, 2019, thus we will object

21   to any relief that requires my office to take action during that time period. Thank you.”9

22             This was a strange response to my meet & confer letter of 8-9-2019 for the following reasons:

23
               7
24           A true and correct copy of Cohen’s 8-9-2019 letter to Berliani is attached hereto as Exhibit
     “7” and is incorporated herein by this reference.
25
               8
             A true and correct copy of Cohen’s 8-9-2019 meet & confer letter to Plaintiff’s counsel is
26   attached hereto as Exhibit “8” and is incorporated herein by this reference.
27             9
             A true and correct copy of Plaintiff’s counsel’s email of 8-11-2019 is attached hereto as
     Exhibit “9” and is incorporated herein by this reference.
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 1             1. Regarding Cohen’s simple request to see Plaintiff’s F.R.C.P. 26 Initial Disclosures, Cohen

 2   asked counsel whether he met & conferred and served the Defendant, with Plaintiff’s F.R.C.P. 26

 3   Initial Disclosures, and if he did, to please send Cohen a copy, because as the Court knows, F.R.C.P.

 4   26(d)(1) prohibits discovery before the parties have met & conferred as required by F.R.C.P. 26(f).

 5   Further, as the Court knows, F.R.C.P. § 26(a)(1)© requires a plaintiff to make the initial disclosures

 6   at or within 14 days after the parties’ Rule 26(f) conference. In Plaintiff’s 1-2-2019 Status Conference

 7   Report [Doc-5], Section A4 of the Joint Status Report the parties acknowledged that they did not

 8   meet & confer pursuant to LBR 7026-1, and Plaintiff pledged to meet and confer by1-17-2019.

 9   Plaintiff’s Initial Disclosures were due by 1-31-2019. So Cohen inquired whether Plaintiff met &

10   conferred before or after the 1-17-2019 date. So Cohen merely asked to see Plaintiff’s compliance

11   with his F.R.C.P. 26 Disclosures requirement. To Cohen’s surprise, rather than simply send them to

12   Cohen, Plaintiff stonewalled me with his non-response of 8-11-2019. So Cohen had no copy of

13   Plaintiff’s F.R.C.P. 26 Initial Disclosures to work from.

14             2. Regarding Cohen’s simple request to see Plaintiff’s discovery, Cohen informed Plaintiff

15   that Defendant informed Cohen that he does not recall receiving any discovery from Plaintiff, let

16   alone RFA's, and inquired whether Plaintiff’s discovery was propounded before or after the 6-28-2019

17   Discovery Cutoff date? And if so, to please provide Cohen with copies of the propounded discovery

18   so that Cohen can respond to them. Cohen also asked that Plaintiff stipulate to withdraw the deemed

19   status and allow Defendant to respond to them. To Cohen’s surprise, rather than simply send them

20   to Cohen, Plaintiff stonewalled Cohen with his non-response of 8-11-2019. So Cohen did not have

21   a copy of Plaintiff’s discovery to work from.

22             3. Regarding Cohen’s simple request for clarification regarding Plaintiff’s efforts to meet &

23   confer with Defendant regarding the Joint Pre-Trial Report, Cohen reported to counsel that his

24   Declaration in support of the Unilateral Pre Trial states that "On or about July 22, 2019, I called the

25   telephone number listed on the adversary proceeding docket’s cover page and left a message, nut no

26   return call; or email was received by Defendant Nicholas Silao," and that Defendant informed Cohen

27   that he does not recall receiving any such telephone call from Plaintiff. Cohen expressed to counsel

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 1   concern with Plaintiff’s claim of a 7-22-2019 telephone call, because as the Court is aware, LBR

 2   7016-1(b)(1)© requires that the parties must meet and confer at least 28 days before the date set for

 3   pretrial conference, the pretrial hearing was 8-22-2019, and the 28-day meet & confer deadline was

 4   7-5-2019, meaning that Plaintiff’s attempted meet & confer of 7-22-2019 was not timely.

 5             Cohen expressed to Plaintiff his additional concern with why his declaration fails to state that

 6   he emailed the proposed Joint Pre Trial to Defendant that is listed in the Order Granting Bereliani's

 7   Motion to Withdraw as Counsel of Record [Doc-16] and in the PACER docket nsilao@aol.com?

 8             Cohen expressed to Plaintiff his additional concern with Plaintiff’s Declaration in support of

 9   the Unilateral Pre Trial that states: "On or about July 29, 2019, my office sent Defendant Nicholas

10   Silao at the address listed on the adversary proceeding docket via Federal Express delivery the Joint

11   PreTrial Stipulation." Cohen informed counsel that Defendant claims and insists that he does not

12   recall receiving any such Joint Pre Trial Stipulation, and Cohen requested that Plaintiff provide Cohen

13   with his 7-29-2019 letter, the FEDEX slip, and the proposed JPS of 7-29-2019. To Cohen’s surprise,

14   rather than simply send them to Cohen, Plaintiff stonewalled him with his non-response of 8-11-2019.

15   So Cohen has no no copy of Plaintiff’s Joint Pretrial that he allegedly sent to work from.

16             Regarding the last point of Cohen’s letter to demonstrate that Defendant has evidence to

17   dispute Plaintiff’s turnover claim for $137,000.00, that he has witnesses and exhibits re same, Cohen

18   produced these documents to counsel sight unseen, without the Plaintiff having to formally demand

19   them from Defendants to substantiate Defendant’s claim that he has exhibits to support his defense:

20             RFA # 4. The Debtor did not lend $137,000 to Defendant. The facts will reveal just the

21   opposite: My client lent Pandora $442, 00.00.

22             RFA # 5. Defendant does not owe the Plaintiff $137,000 (plus any and all costs of collection).

23             RFA # 6. Plaintiff is not entitled to pre-judgment interest as provided under applicable

24   non-bankruptcy law.

25             RFA # 7. Defendant, Nicholas Silao has defenses to Plaintiff’s demand for $137,000, as raised

26   in Defendant’s Answer [Doc-4]. Again, the Debtor did not lend $137,000 to Defendant. The facts will

27   reveal just the opposite: My client lent Pandora $442, 00.00.

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 1             RFA # 8. Defendant has facts that dispute Plaintiff’s entitlement to $137,000 demanded in the

 2   Trustee’s Complaint.

 3             RFA # 9. Defendant has documents, notes or other writings that dispute the Plaintiff’s

 4   entitlement to $137,000 demanded in the Trustee’s Complaint.

 5             Regarding the exhibits, Cohen presented to Plaintiff:

 6             Pandora’s loan report to the Silao brothers reflecting that during the period of 12-16-2013 -

 7   5-20-2015, Defendant lent Pandora approximately $442,000.00 (and that his brothers Michael Silao

 8   lent Pandora $70,000.00, Sam Silao lent Pandora $6,000.00, & Ray Silao lent Pandora $143,911.37,

 9   totaling $662,411.37).

10             The last page of Pandora’s 2014 tax return (FYE 12-31-2014) Form 1120, Page 5, Schedule

11   L, Line 19, entitled: “Loans from Shareholders” showing that my client was owed $389,750.00 by

12   Pandora for that year (“Loan Payable N Silao”);

13             The last page of Pandora’s 2015 tax return (FYE 12-31-2015) Form 1120, Page 5, Schedule

14   L, Line 19, entitled: “Loans from Shareholders” showing that my client was owed between

15   $389,750.00 - $297,250.00 by Pandora for that year (“Loan Payable N Silao”);

16             Pandora’s Balance Sheet as of 12-31-2015, under the section entitled: “Liabilities & Equity”

17   reflecting “Loan/Financing Payable N. Silao $297,250.00;

18             The last page of Pandora’s 2016 tax return (FYE 12-31-2016) Form 1120, Page 5, Schedule

19   L, Line 19, entitled: “Loans from Shareholders” showing that my client was owed between

20   $297,250.00 - $295,250.00 by Pandora for that year (“Loan Payable N Silao”);

21             Pandora’s (9) checks to my client that contain the notation: “Reimbursement - Loan:”

22                    i.      Pandora’s 7-31-2015 check # 9001 to Defendant for $25,000.00;

23                    ii.     Pandora’s 9-4-2015 check # 9002 to Defendant for $25,000.00 contains the

24                            notation: “Loan Repayment;”

25                    iii.    Pandora’s 9-15-2015 check # 1112 to Defendant for $2,500.00 contains the

26                            notation: “Reimbursement - Loan;”

27                    iv.     Pandora’s 10-9-2015 check # 9003 to Defendant for $25,000.00 contains the

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 1                            notation: “Loan Repayment;”

 2                    v.      Pandora’s 10-15-2015 check # 1130 to Defendant for $2,500.00 contains the

 3                            notation: “Reimbursement;”

 4                    vi.     Pandora’s 11-1-2015 check # 1131 to Defendant for $2,500.00 contains the

 5                            notation: “Reimbursement;”

 6                    vii.    Pandora’s 11-2-2015 check # 0005 to Defendant for $25,000.00 contains the

 7                            notation: “Loan Repayment;”

 8                    viii.   Pandora’s 12-1-2015 check # 1132 to Defendant for $2,500.00 contains the

 9                            notation: “Reimbursement;”

10                    ix.     Pandora’s 12-2-2015 check # 8655 to Defendant for $25,000.00 contains the

11                            notation: “Loan Repayment.”

12             Regarding the witnesses, I disclosed to counsel:

13             RFA # 10. Defendant has witnesses that dispute the Trustee’s entitlement to $137,000

14   demanded in the Trustee’s Complaint: Defendant; the other Silao brothers; Pandora’s CPA Rufino

15   Reyes Magpayo.

16             Cohen’s letter recommended that the parties push “reset” on this case: (1) so that Plaintiff can

17   provide Cohen with all of the above-requested documents; (2) to stipulate to withdraw the deemed

18   admissions; (3) to allow Defendant to respond to Plaintiff’s discovery; (4) to allow Defendant to

19   participate meaningfully to the Joint Pre Trial report; & (5) to stipulate to continue the pre-trial to a

20   mutually agreeable date. Cohen concluded that he believes that the Court would prefer to try the case

21   on the merits rather than granting the Plaintiff defaults against an in pro per defendant based on the

22   above. Cohen was even so bold as to suggest that since Plaintiff’s case appears to be solely predicated

23   on a 2016 tax return, that upon Plaintiff verifying the Defendant’s evidence, that the Plaintiff consider

24   dismissing this adversary complaint. Cohen truly believed he was being completely reasonable and

25   practical, given the situation that he found himself in. Cohen’s requests to see Plaintiff’s Initial

26   Disclosures, Discovery, and proof of his meet & confer compliance, are completely legitimate, not

27   being made for any improper4 purpose. One would think, that a Plaintiff would agree to produce the

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 1   aforementioned and stipulate to continue the pretrial - especially in light of his late compliance with

 2   LBR 7016-1(b)(1)© - to allow the defendant to participate meaningfully in his defense. Instead, and

 3   to Cohen’s surprise, rather than simply send them to Cohen, Plaintiff stonewalled him with his non-

 4   response of 8-11-2019.

 5             On 9-4-2019, Cohen wrote Plaintiff again. “ am writing you to meet & confer regarding: (1)

 6   the proposed Joint Pre Trial Stipulation; (2) the proposed Motion in Limine, & (3) the proposed

 7   Motion to Withdraw the Deemed Admissions pursuant to F.R.C.P. § 36(b). As I wrote you on

 8   8-9-2019, I’m running blind here, because I do not have: (1) Plaintiff’s F.R.C.P. 26 Initial

 9   Disclosures; & (2) Plaintiff’s written discovery including Plaintiff’s Request for Admissions

10   ("RFA's"). Both Ms. Bereliani and my client informed me that they do not have copies of them.

11   Accordingly, please provide them to me. If I do not receive them from you, I will have no choice but

12   to file the proposed motions. As I indicated in Defendant’s 8-12-2019 Unilateral Pre-Trial Report

13   [Doc-28], Defendant intends to file a Motion in Limine to exclude Plaintiff’s evidence at trial, based

14   on Plaintiff’s failures to comply with FRCP 26. Your cooperation in providing me with the requested

15   documents will impact greatly on whether I will file the Motion in Limine or not. I also indicated that

16   Defendant intends to file a Motion to Withdraw the Deemed Admissions pursuant to F.R.C.P. § 36(b),

17   based on my client’s representation that he never received Plaintiff’s (alleged) Request for

18   Admissions. Please advise if Plaintiff will stipulate to withdraw the deemed admissions and I will

19   gladly prepare the stipulation and order. To expedite the process, enclosed please find Defendant’s

20   Verified Response to Request for Admissions that is based on Plaintiff’s Unilateral PreTrial Report

21   that identified the six (6) Requests for Admission.10

22             On 9-11-2019, Plaintiff responded: “Baruch, I never received a response from you last week

23   regarding the Meet and Confer issues noted in your 9/4/11 faxed letter. I had proposed a "Meet and

24

25             10
              A true and correct copy of Cohen’s 9-4-2019 Meet & Confer letter Re: Proposed Joint Pre
26   Trial Stipulation; Proposed Motion in Limine, & Proposed Motion to Withdraw the Deemed
     Admissions pursuant to F.R.C.P. § 36(b) and Defendant’s Verified Response to Request for
27   Admissions that is based on Plaintiff’s Unilateral PreTrial Report that identified the six (6) Requests
     for Admission is attached hereto as Exhibit “10” and is incorporated herein by this reference.
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 1   Confer" telephone call for Friday September 6, 2019 but never heard back from you. Secondly, I don't

 2   understand the legal effect if any of the verified responses included with your 9/4/19 fax. Rather, I've

 3   enclosed the RFAs that were properly served on your client's former counsel at her address of record

 4   in the above-captioned Adversary proceeding. Thus pursuant to F.R.C.P. 36 (made applicable to this

 5   Adversary Proceeding per Rule 7036 of the Fed Rules of Bankr Procedure) the unresponded to RFAs

 6   are still, enforceable and we intend to use them until there's a court order to the contrary. Any

 7   questions or comments, please let me know. thanks.” Plaintiff attached a copy of an RFA.11

 8             On 9-11-2019, Cohen responded: “Tom: I do not recall you proposing, and me accepting, a

 9   proposed meet & confer with me on 9-6-2019. But I'm happy to do so immediately. I also want to

10   state emphatically, that Berliani did not share your RFA with me, and that Nick Silao swears over a

11   stack of bibles that he never received them. Finally, I need to see your Initial Disclosures. As I’m sure

12   you know, F.R.C.P. 26(d)(1) prohibits discovery before the parties have met & conferred as required

13   by F.R.C.P. 26(f). If you did not do a F.R.C.P. 26 Initial Disclosure, the RFA's would be improper.

14   If you did do a F.R.C.P. 26 Initial Disclosure, please provide it to me. I've now asked you for this

15   twice.”12

16             On 9-11-2019 Cohen wrote Berliani informing her that Plaintiff sent Cohen an RFA that

17   purports to have been served on her office on 3-7-2019 at your address "Sanaz S. Bereliani, Bereliani

18   Law Firm, 11400 W. Olympic Blvd., Suite 200, Los Angeles, CA 90064. On 3-15-2019, she moved

19   to withdraw as counsel to Defendant. So she must have had the 3-7-2019 RFA's in her file before she

20   moved to withdraw on 3-15-2019. Yet, she did not produce it to Defendant or to Cohen in violation

21   of Rule 4-100(b)(4). Cohen was very concerned that she had this RFA in her file and did not produce

22   it when Defendant demanded it. So Cohen asked her again: “Did Plaintiff send you Plaintiff's FRCP

23
               11
               A true and correct copy of Plaintiff’s counsel’s email of 9-11-2019 is attached hereto as
24
     Exhibit “11” and is incorporated herein by this reference. While Defendant’s counsel would not
25   accuse Plaintiff’s counsel of forging the Request for Admission, one can easily be generated, and
     backdated, without any independent way of verifying that it is authentic. Of particular note is that
26   Plaintiff presented no proof that the RFA was actually mailed to Berliani.
27             12
             A true and correct copy of Cohen’s 9-11-2019 letter to Plaintiff is attached hereto as Exhibit
     “12” and is incorporated herein by this reference.
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 1   26 Initial Disclosures? If so, please send it. Was any discovery done in this adversary? If so, please

 2   send them.” Cohen was very concerned that now the RFA's are deemed admitted, and Defendant will

 3   now have to spend money to file a Motion to have the Deemed Admissions Withdrawn, which he

 4   should not have to do, had she forwarded to him the RFA's when you received it on 3-7-2019.13

 5             On 9-12-2019, Cohen spoke with Berliani, who represented that the only documents she had

 6   in her file were those that she forwarded to Cohen earlier. When pressed again whether she had the

 7   RFA in her file and whether she had Plaintiff's FRCP 26 Initial Disclosures, she repeated again, that

 8   the only documents she had in her file were those that she forwarded to Cohen earlier.

 9             On 9-17-2019, Cohen wrote Plaintiff’s counsel to meet & confer and sent him a Proposed

10   Joint Stipulation in Connection with Defendant’s Motion to Allow Withdrawal of Deemed Admissions

11   F.R.C.P. § 36(B) (“Proposed Joint Stipulation”).14

12             On 9-17-2019, Plaintiff’s counsel wrote back declining to participate in the Proposed Joint

13   Stipulation.15

14             Bottom line, Plaintiff has still not produced to Cohen Plaintiff's FRCP 26 Initial Disclosures

15   that would have entitled him to conduct discovery, despite being asked for this document at least two

16   times.

17             b.     LEGAL ARGUMENT

18                    i.      THE DEEMED ADMISSIONS ARE PROPERLY WITHDRAWN

19             Defendant maintains that he never received Plaintiff’s alleged Request for Admissions.

20   Plaintiff’s counsel refuses to produce them to Defendant.

21             Nevertheless, as soon as Defendant learned of the RFA’s he responded to it, and denied them

22
               13
             A true and correct copy of Cohen’s 9-11-2019 letter to Berliani is attached hereto as Exhibit
23   “13” and is incorporated herein by this reference.
24             14
              A true and correct copy of Cohen’s 9-17-2019 meet & confer letter to Plaintiff and the
25   Proposed Joint Stipulation in Connection with Defendant’s Motion to Allow Withdrawal of Deemed
     Admissions F.R.C.P. § 36(B) is attached hereto as Exhibit “14” and is incorporated herein by this
26   reference.
27             15
              A true and correct copy of Plaintiff’s 9-17-2019 letter is attached hereto as Exhibit “15” and
     is incorporated herein by this reference.
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 1   substantively and produced the evidence to support those denials. Under applicable law: If a matter

 2   is not admitted, the answer must specifically deny it or state in detail why the answering party cannot

 3   truthfully admit or deny it. A denial must fairly respond to the substance of the matter; and when good

 4   faith requires that a party qualify an answer or deny only a part of a matter, the answer must specify

 5   the part admitted and qualify or deny the rest. The answering party may assert lack of knowledge or

 6   information as a reason for failing to admit or deny only if the party states that it has made reasonable

 7   inquiry and that the information it knows or can readily obtain is insufficient to enable it to admit or

 8   deny. F.R.C.P. § 36(a)(4).

 9             Despite the self-executing nature of Rule 36 with regard to the automatic admission of

10   untimely responses, the Ninth Circuit has long recognized the district court's discretion to permit late

11   responses to requests for admission. See, e.g., French v. United States, 416 F.2d 1149, 1152 (9th

12   Cir. 1968) ("A trial judge has discretion to permit a late response to a request for admissions made

13   pursuant to [Rule 36], and thus relieve a party of apparent default.") The language of Rule 36(a)

14   provides a court with discretion to extend the time for responding to requests for admissions, even

15   after the time to respond has expired. Fed. 1 R. Civ. P. 36(a)(3) ("A shorter or longer time for

16   responding may be stipulated to under Rule 29 or be ordered by the court.").

17             Discretion also requires the Court to examine competing factors and interests. The Court must

18   weigh the public policy favoring the disposition of cases on their merits rather than on technical

19   violations of procedural rules, consider the scope and purpose of the Federal Rules of Civil Procedure,

20   and assess the particular circumstances presented. Defendant asserts that if the RFAs are deemed

21   admitted the result is essentially a case-terminating sanction as the RFAs eviscerate Defendant’s case

22   and will prevent the matter from being decided on the merits. The Ninth Circuit has repeatedly held,

23   in a variety of procedural contexts, that the public policy favoring disposition of cases on their merits

24   strongly counsels against dismissal of a case or sanctions that are ultimately case-terminating. See,

25   e.g., In re Phenylpropanolamine Prods. Liab. Litig., 460 F.3d 1217, 1228 (9th Cir. 2006).

26             Further, the Rules of Civil Procedure explicitly counsel that the rules are to "be construed and

27   administered to secure the just, speedy, and inexpensive determination of every action and

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 1   proceeding." Fed. R. Civ. P. 1. Here, the responses were done at the first opportunity once Defendant

 2   learned of them Allowing a technical violation of this nature to drive the resolution of the matter

 3   essentially deprives Defendant of a merits-based decision. Construing Rule 36 in this manner would

 4   not comport with the scope and purpose of the Rules.

 5             Beyond this, even assuming that Defendant is incorrect in his assertion that the admissions

 6   are

 7   case-terminating, the circumstances of this case weigh in favor relieving Defendant of his late

 8   responses. Allowing Defendant to respond to the RFAs can be construed as an agreement to waive

 9   the original untimeliness.

10             When undertaking a prejudice inquiry under Rule 36(b), district courts should focus on the

11   prejudice that the nonmoving party would suffer at trial.” Sonoda v. Cabrera, 255 F.3d 1035, 1039-40

12   (9th Cir. 2001, where the court granted the motion to withdraw the admissions because it was made

13   before trial and the propounding party would not have been hindered in presenting its evidence.The

14   Ninth Circuit has held that “reliance on a deemed admission in preparing a summary judgment motion

15   does not constitute prejudice.” Conlon, 474 F.3d at 623. The Ninth Circuit likewise concluded that

16   when deemed admissions resulted in another party choosing not to engage in other discovery, it did

17   not amount to prejudice. It specifically noted that under those circumstances, the district court has the

18   option of re-opening the discovery.

19             Courts have stressed that a deemed admission can only be withdrawn or amended by motion

20   in accordance with F.R.C.P. § 36(b). American Auto., 930 F.2d at 1120. In order to allow withdrawal

21   of a deemed admission, F.R.C.P. § 36(b) requires that a trial court find that withdrawal or amendment:

22   1) would serve the presentation of the case on its merits, but 2) would not prejudice the party that

23   obtained the admissions in its presentation of the case. American Auto., 930 F.2d at 1119 (citations

24   Omitted); F.R.C.P. § 36(b). Even when these two factors are established, a district court still has

25   discretion to deny a request for leave to withdraw or amend an admission. United States v. Kasuboski,

26   834 F.2d 1345, 1350 n. 7 (7th Cir. 1987) ("[R]ule 36(b) allows withdrawal of admissions if certain

27   conditions are met and the district court, in its discretion, permits the withdrawal."); Donovan v. Carls

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 1   Drug Co., Inc., 703 F.2d 650, 652 (2d Cir. 1983) ("Because the language of [Rule 36(b)] is

 2   permissive, the court is not required to make an exception to Rule 36 even if both the merits and the

 3   prejudice issues cut in favor of the party seeking exception to the rule.").

 4             Two requirements, therefore, must be met before an admission may be withdrawn: (1)

 5   presentation of the merits of the action must be subserved, and (2) the party who obtained the

 6   admission must not be prejudiced by the withdrawal. Both requirements are met here. Defendant has

 7   presented his defenses to this lawsuit on 8-9-2019, Defendant has sent Plaintiff his response to the

 8   RFA’s, and Plaintiff cannot possibly claim that he has been prejudiced by the withdrawal, especially

 9   in light of the fact that Plaintiff failed to prove that he first served Initial Disclosures in the case.

10             Defendant has shown that the proposed response to admissions are contrary to the record or

11   that circumstances relating to the deemed admissions. More importantly, Defendant had no earlier

12   opportunity to submit his responses to Plaintiff’s discovery requests - because he never received them

13   and because his former lawyer never sent them to him. Defendant seized the opportunity to respond

14   to them as soon as he learned of them.

15             Accordingly, permitting withdrawal of Defendant’s deemed admissions would promote the

16   presentation of the merits of case, as the admissions constitute competent evidence capable of

17   defeating the Plaintiff’s claim.

18                    ii.    PLAINTIFF’S DISCOVERY IS PREMATURE UNDER THE FEDERAL

19                           RULES OF CIVIL PROCEDURE

20             Under F.R.C.P. § 26(d)(1), discovery is not permitted without a court order prior to a

21   conference between the parties as required by F.R.C.P. § 26(f). AF Holdings LLC v. DOES 1-96,

22   2011 WL 4502413 (N.D. Cal. 2011); See also, F.R.C.P. § 26(d)(1) (“A party may not seek discovery

23   from any source before the parties have conferred as required by Rule 26(f), except in a proceeding

24   exempted from initial disclosure under F.R.C.P. § 26(a)(1)(B), or when authorized by these rules,

25   by stipulation, or by court order.”) “By its express terms, Rule 26(d) bars discovery until after the

26   parties have conferred about a discovery plan as directed by Rule 26(f).” Riley v. Walgreen Co., 233

27   F.R.D. 496, 498 (S.D. Tex. 2005). “Rule 26(d)'s proscription sweeps broadly: not only may a party

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 1   not ‘serve’ discovery, it may not even ‘seek’ discovery from any source until after the Rule 26(f)

 2   conference.” Id. at 499.2 A Rule 26(f) scheduling conference has not been held, and discovery is not

 3   yet open. See Xcentric Ventures, LLC v. Richeson, 2010 WL 5276950 (D. Ariz. 2010) (holding that

 4   prior to a Rule 26(f) conference, a request for discovery was propounded “before the Federal Rules

 5   of Civil Procedure permitted [the plaintiff] to do so.”) Accordingly, Plaintiff’s efforts to obtain

 6   discovery, formally or informally, are premature.

 7             If Plaintiff actually issued Initial Disclosures, he should have simply produced a copy to

 8   Cohen upon requesting it two times. Instead, Plaintiff stonewalled and refused to produce it. By virtue

 9   of Plaintiff’s refusal to show that he indeed actually issued Initial Disclosures, we are left to conclude

10   that he did not, and therefore the RFA’s are premature and unauthorized. The Court cannot deem them

11   admitted accordingly.

12             Pursuant to LBR 7026-1(c)(2), Defendant met and conferred with Plaintiff at least twice trying

13   to resolve this simple discovery matter (to no avail).

14             Pursuant to LBR 7026-1(c)(3), the Proposed Joint Stipulation is attached to this motion.

15                    iii.    SANCTIONS ARE PROPERLY AWARDED TO DEFENDANT

16             Pursuant to LBR 7026-1(c)(4), Cooperation of Counsel; Sanctions. The failure of any counsel

17   either to cooperate in this procedure, to attend the meeting of counsel, or to provide the moving party

18   the information necessary to prepare the stipulation required by this rule within 7 days of the meeting

19   of counsel will result in the imposition of sanctions, including the sanctions authorized by F.R.B.P.

20   7037 and LBR 9011-3.

21             This Court can impose sanctions under its inherent power. Chambers v. NASCO, 501 U.S. 32,

22   45-46 (1991).

23             “Congress impliedly recognized that bankruptcy courts have the inherent power to
               sanction that Chambers recognized exists within Article II courts.” In re Rainbow
24             Magazine, 77 F.3d 278 (9th Cir. 1996) (sanctions under the Court's inherent power are
               permitted if "preceded by a finding of bad faith, or conduct tantamount to bad faith,"
25             such as recklessness "combined with an additional factor such as frivolousness,
               harassment, or an improper purpose"); Fink v. Gomez, 239 F.3d 989, 994 (9th Cir.
26             2001); Gomez v. Vernon, 255 F.3d 1118, 1134 (9th Cir. 2001).

27                    iv.     MONEY SANCTIONS ARE PROPERLY AWARDED TO DEFENDANT

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 1             Reasonable attorney’s fees and costs against a party and/or his counsel have been awarded

 2   under the judiciary’s inherent power in a number of circumstances, including where a party:

 3   (1) fabricates evidence. Dollar Systs. v. Avcar Leasing Sys., 890 F.2d 165, 175-76 (9th Cir.1989),

 4   (losing party's attempt to fabricate a disclosure date revealed bad faith conduct justifying an award

 5   of attorneys' fees); (2) intentionally spoliates relevant evidence. Leon v. IDX Sys., 464 F.3d 951, 959,

 6   961 (9th Cir. 2006) (intentionally deleting over 2,000 files from his employer-issued laptop during

 7   his lawsuit against employer warranted dismissal of plaintiff's lawsuit and monetary sanctions

 8   [attorneys’ fees and costs for investigating and litigating spoliation issue]).

 9             An award of expenses does not require a showing of willfulness or improper intent. Rather,

10   the standard is whether there was substantial justification for the losing party’s conduct. Reygo Pac.

11   Corp. v. Johnston Pump Co., 680 F.2d 647, 649 (9th Cir. 1982). In this case, there wasn’t.

12             The Court retains broad discretion to control its dockets and in the exercise of that power they

13   may impose sanctions. Adams v. Cal. Dept. of Health Services, 487 F.3d 684, 688 (9th Cir. 2007);

14   Thompson v. Housing Authority of City of Los Angeles, 782 F.2d 829, 831 (9th Cir. 1986). Further,

15   "a court certainly may assess sanctions against counsel who willfully abuse judicial processes." Fink

16   v. Gomez, 239 F.3d 989, 992 (9th Cir. 2001).

17             Defendant incurred 5 hours in preparation of this motion ($2,750.00). Counsel’s hourly rate

18   is $550.00 per hour. He anticipates another 2 hours in reviewing Defendants’ opposition ($1,100.00),

19   another 2 hours in preparing a Reply ($1,100.00), and another 3 hours for attending the hearing

20   ($1,650.00) totaling $6,600.00.

21             Accordingly, monetary sanctions sought by Plaintiffs in connection with this Motion should

22   be imposed against Defendants with said amount to be made payable to Plaintiffs’ attorney, within

23   ten days.

24             c.     CONCLUSION

25             For all of the foregoing reasons, the Court should grant Defendant’s Motion and award to

26   Defendant his attorneys’ fees, costs and disbursements; and grant to Defendant any further relief as

27   to the Court seems appropriate.

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 1   DATED:        January 22, 2020        LAW OFFICE OF BARUCH C. COHEN, APLC

 2                                         By     /S/ Baruch C. Cohen
                                           Baruch C. Cohen, Esq.
 3                                         Attorney For Defendant Nicholas Silao

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 1                                 DECLARATION OF BARUCH C. COHEN
 2             I, BARUCH C. COHEN, declare as follows:

 3   2.        The facts stated below are true and correct within the best of my personal knowledge and if
 4             called upon to testify to them I could and would competently do so.

 5   3.        I am a member in good standing and eligible to practice before the following court(s):

 6             California State Supreme Court; US Court of Appeals - Ninth Circuit; Bankruptcy Appellate
 7             Panel; United States District Courts: Central District of CA; Eastern District of CA; Northern

 8             District of CA; & Southern District of CA.
 9   4.        I am the principal shareholder and President of The Law Office of Baruch C. Cohen. A
10             Professional Law Corporation, located at 4929 Wilshire Boulevard, Suite 940, Los Angeles,

11             California 90010.
12   5.        I proudly represent Defendant Nicholas Silao.
13   6.        This Declaration is in support of DEFENDANT’S MOTION TO ALLOW
14             WITHDRAWAL OF DEEMED ADMISSIONS F.R.C.P. § 36(B).
15   7.        On 11-8-2017, the Debtor Pandora Hospice Care, Inc., commenced this bankruptcy

16             proceeding Case No. 6:17-bk-19336-SY.
17   8.        On 10-2-2018, Plaintiff filed this adversary action entitled: Karl T. Anderson against
18             Nicholas Silao, Adversary case 6:18-ap-01193 [Doc-1]
19   9.        On 10-31-2018, Defendant, represented by Sanaz S. Bereliani filed an Answer to the
20             Complaint [Doc-4].

21   10.       On 1-2-2019, the parties filed a Joint Status Report [Doc-5]. Of particular interest, in Section
22             A4 of the Joint Status Report the parties acknowledged that they did not meet & confer

23             pursuant to LBR 7026-1.16

24   11.       Pursuant to the Status Conference and Scheduling Order Pursuant to LBR 7016-1(a)(4) [Doc-
25             10], the discovery cutoff was 6-28-2019, the pre-trial stipulation was due 8-1-2019, the

26

27             16
              A true and correct copy of the 1-2-2019 Joint Status Report [Doc-5] is attached hereto as
     Exhibit “1” and is incorporated herein by this reference.
28

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 1             pretrial hearing was 8-15-2019, and the mediation completion date was 7-31-2019.
 2   12.       On 3-15-2019, Defendant’s counsel Bereliani moved to withdraw as counsel of record [Doc-

 3             12], and on 4-16-2019, the Court entered its Order Granting Motion To Withdraw As Counsel
 4             Of Record [Doc-16].

 5   13.       On 8-7-2019 at 10:42am, Defendant wrote Berliani (copying Cohen) and demanded his file

 6             from her pursuant to the California Rule of Professional Responsibility 4-100(B)4, that
 7             provides that an attorney must promptly pay or deliver, as requested by the client, any funds,

 8             securities, or other properties in the possession of the member which the client is entitled to
 9             receive.17
10   14.       On 8-7-2019, at 2:18pm, Berliani wrote back: " Not much - Nick went MIA on us shortly after

11             the beginning and we just bought him time with the Tee's attorney... " and sent the following
12             12 documents: (1) The Complaint; (2) Your Retainer Agreement; (3) A Waiver of Conflict
13             of Interest for a Joint Representation signed by Nick Silao; (4) A Waiver of Conflict of
14             Interest for a Joint Representation signed by Ray Silao; (5) A Paypal receipt of Nick''s
15             payment to you; (6) the Answer to the Complaint; (7) Another copy of the Answer to the

16             Complaint; (8) the filed JSR; (9) the filed Scheduling Order; (10) a blank form Substitution
17             of Attorney; (11) the Order Granting your Motion to Withdraw; & (12) the LOU receipt of
18             her Order Granting her Motion to Withdraw.18
19   15.       On 8-8-2019, at 6:53am, I wrote Berliani: "Thx for the prompt reply. Did Plaintiff send you

20             Plaintiff's FRCP 26 Initial Disclosures? If so, please send it. Was any discovery done in this

21             adversary? If so, please send them."19

22

23             17
               A true and correct copy of Defendant’s 8-7-2019 letter to Berliani (copying Cohen)
24   demanding his file from her pursuant to the California Rule of Professional Responsibility 4-100(B)4
     is attached hereto as Exhibit “2” and is incorporated herein by this reference.
25
               18
              A true and correct copy of Berliani’s 8-7-2019 letter to Defendant (copying Cohen) is
26   attached hereto as Exhibit “3” and is incorporated herein by this reference.
27             19
              A true and correct copy of Cohen’s 8-8-2019 letter to Berliani is attached hereto as Exhibit
     “4” and is incorporated herein by this reference.
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 1   16.       On 8-8-20189 at 8:216am, Berliani responded: "Per my previous email, there was no
 2             communication by your client so no nothing further was done. They retained me on a limited

 3             scope and were not in touch after with further instruction or guidance. I recommend calling
 4             Trustees counsel regarding case status, I’m surprised they haven’t filed anything else yet.

 5             Nick got lucky."20

 6   17.       On 8-8-2019 (late at night), Defendant retained me, and I filed the Substitution of Attorney
 7             [Doc-25] on 8-12-2019.

 8   18.       Before being retained, I specifically inquired of Defendant and Ms. Bereliani whether they
 9             received any discovery from Plaintiff in this adversary, whether they received a proposed
10             Joint Pre-Trial from Plaintiff, & whether they received any FRCP 26 Initial Disclosures from

11             Plaintiff. While Ms. Bereliani withdrew from the case in 4-16-2019, I still inquired of her too,
12             just in case. Both Ms. Bereliani & Defendant informed me that they did not receive any of the
13             aformentioned from Plaintiff. On that basis, I took the case.
14   19.       I was prepared to file a declaration pursuant to LBR 7016-1(E)(2), when I checked PACER
15             and discovered Plaintiff’s Unilateral Pre Trial and Declaration filings of 8-8-2019, and was

16             surprised, to see that Plaintiff claimed that he indeed propounded discovery to Defendant -
17             Request for Admissions ("RFA's") and that Defendant did not respond, and Plaintiff is
18             deeming the following admissions, admitted:
19             a.     RFA # 4. The Debtor loaned/transferred $137,000 to Defendant, Nicholas Silao. The
20                    Debtor’s 2016 Federal Income Tax Returns signed under penalty of perjury reflected

21                    the outstanding loan owed by Defendant, Nicholas Silao to the Corporate Debtor.
22                    (Unresponded to Request for Admission No. 1).

23             b.     RFA # 5. Pursuant to the Debtor’s 2016 Federal Income Tax Returns, Defendant,

24                    Nicholas Silao owes the Plaintiff/Chapter 7 Trustee no less than $137,000, plus any
25                    and all costs of collection. (Unresponded to Request for Admission No. 4).

26

27             20
              A true and correct copy of Berliani’s 8-8-2019 letter to Cohen is attached hereto as Exhibit
     “5” and is incorporated herein by this reference.
28

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 1             c.     RFA # 6. Plaintiff/Chapter 7 Trustee is entitled to pre-judgment interest as provided
 2                    under applicable non-bankruptcy law (Unresponded to Request for Admission No. 5).

 3             d.     RFA # 7. Defendant, Nicholas Silao has no defenses and/or counterclaims to
 4                    Plaintiff/Chapter 7 Trustee’s demand for $137,000. (Unresponded to Request for

 5                    Admission No. 6).

 6             e.     RFA # 8. Defendant, Nicholas Silao has no facts that dispute Plaintiff/Chapter 7
 7                    Trustee’s entitlement to $137,000 demanded in the Trustee’s Complaint.

 8                    (Unresponded to Request for Admission No. 7).
 9             f.     RFA # 9. Defendant, Nicholas Silao has no documents, notes or other writings that
10                    disputes the Trustee’s entitlement to $137,000 demanded in the Trustee’s Complaint.

11                    (Unresponded to Request for Admission No. 8).
12             g.     RFA # 10. Defendant, Nicholas Silao has no witnesses that dispute the Trustee’s
13                    entitlement to $137,000 demanded in the Trustee’s Complaint. (Unresponded to
14                    Request for Admission No. 9).21
15   20.       On 8-9-2019 at 6:34am, I wrote Berliani informing her that Plaintiff's Unilateral Pretrial stated

16             that he indeed propounded discovery Request for Admissions ("RFA's") to the Defendant, that
17             Defendant did not respond to, and that they are now deemed admitted. I asked Berliani why
18             wasn't I given copies of this discovery?”22
19   21.       On 8-9-2019 at 12:17pm, Berliani responded: "Ps I'll speak to my office regarding receipts

20             of anything on their end but please note we were retained specifically for an answer and joint

21             status report and conference. We had no further involvement or guidance. Lastly, I appreciate

22             your professionalism going forward."

23   22.       On Friday 8-9-2019 at 11:22am, I wrote Plaintiff’s counsel to meet & confer regarding

24
25
               21
              A true and correct copy of Plaintiff’s 8-8-2019 Unilateral Pretrial & Declaration is attached
26   hereto as Exhibit “6” and is incorporated herein by this reference.
27             22
              A true and correct copy of Cohen’s 8-9-2019 letter to Berliani is attached hereto as Exhibit
     “7” and is incorporated herein by this reference.
28

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1              Plaintiff’s Unilateral Pre Trial [Doc-23] and Declaration [Doc-24] in advance of the
2              upcoming Pre Trial hearing of 8-22-2019.23

3    23.       Specifically, I asked Plaintiff’s counsel: (1) to see Plaintiff’s F.R.C.P. 26 Initial Disclosures;
4              (2) to See Plaintiff’s Discovery; (3) to show Plaintiff that Defendant has evidence to dispute

5              Plaintiff’s turnover claim for $137,000.00; & (4) to seek clarification regarding Plaintiff’s

6              efforts to meet & confer with Defendant regarding the Joint Pre-Trial Report.
7    24.       On Sunday 8-11-2019, Plaintiff’s counsel emailed me stating: “Thanks for your email. Please

8              know I will not litigate this matter via email, thus if you believe your client is entitled to relief
9              from the Court, please file a properly noticed motion pursuant to the Local Bankruptcy Rules.
10             Consequently, at this point we are proceeding in the ordinary course pursuant to the Court’s

11             presently set scheduling order. Finally, if you intend to proceed with any type of judicial
12             relief, please note I’ll be traveling to and from Shanghai China for my son’s college freshman
13             activities between the afternoon of August 22 and returning to the OC on or about August 29,
14             2019, thus we will object to any relief that requires my office to take action during that time
15             period. Thank you.”24

16   25.       This was a strange response to my meet & confer letter of 8-9-2019 for the following reasons:
17             a.      Regarding my simple request to see Plaintiff’s F.R.C.P. 26 Initial Disclosures, I asked
18                     counsel whether he met & conferred and served the Defendant, with Plaintiff’s
19                     F.R.C.P. 26 Initial Disclosures, and if he did, to please send Cohen a copy, because
20                     as the Court knows, F.R.C.P. 26(d)(1) prohibits discovery before the parties have met

21                     & conferred as required by F.R.C.P. 26(f). Further, as the Court knows, F.R.C.P. §
22                     26(a)(1)© requires a plaintiff to make the initial disclosures at or within 14 days after

23                     the parties’ Rule 26(f) conference. In Plaintiff’s 1-2-2019 Status Conference Report

24
25
               23
              A true and correct copy of Cohen’s 8-9-2019 meet & confer letter to Plaintiff’s counsel is
26   attached hereto as Exhibit “8” and is incorporated herein by this reference.
27             24
              A true and correct copy of Plaintiff’s counsel’s email of 8-11-2019 is attached hereto as
     Exhibit “9” and is incorporated herein by this reference.
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1                   [Doc-5], Section A4 of the Joint Status Report the parties acknowledged that they did
2                   not meet & confer pursuant to LBR 7026-1, and Plaintiff pledged to meet and confer

3                   by1-17-2019. Plaintiff’s Initial Disclosures were due by 1-31-2019. So I inquired
4                   whether Plaintiff met & conferred before or after the 1-17-2019 date. So I merely

5                   asked to see Plaintiff’s compliance with his F.R.C.P. 26 Disclosures requirement. To

6                   my surprise, rather than simply send them to me, Plaintiff stonewalled me with his
7                   non-response of 8-11-2019. So I had no copy of Plaintiff’s F.R.C.P. 26 Initial

8                   Disclosures to work from.
9              b.   Regarding my simple request to see Plaintiff’s discovery, I informed Plaintiff that
10                  Defendant informed me that he does not recall receiving any discovery from Plaintiff,

11                  let alone RFA's, and inquired whether Plaintiff’s discovery was propounded before or
12                  after the 6-28-2019 Discovery Cutoff date? And if so, to please provide me with
13                  copies of the propounded discovery so that I can respond to them. I also asked that
14                  Plaintiff stipulate to withdraw the deemed status and allow Defendant to respond to
15                  them. To my surprise, rather than simply send them to me, Plaintiff stonewalled me

16                  with his non-response of 8-11-2019. So I did not have a copy of Plaintiff’s discovery
17                  to work from.
18             c.   Regarding my simple request for clarification regarding Plaintiff’s efforts to meet &
19                  confer with Defendant regarding the Joint Pre-Trial Report, I reported to counsel that
20                  his Declaration in support of the Unilateral Pre Trial states that "On or about July 22,

21                  2019, I called the telephone number listed on the adversary proceeding docket’s cover
22                  page and left a message, nut no return call; or email was received by Defendant

23                  Nicholas Silao," and that Defendant informed me that he does not recall receiving any

24                  such telephone call from Plaintiff. I expressed to counsel concern with Plaintiff’s
25                  claim of a 7-22-2019 telephone call, because as the Court is aware, LBR

26                  7016-1(b)(1)© requires that the parties must meet and confer at least 28 days before

27                  the date set for pretrial conference, the pretrial hearing was 8-22-2019, and the 28-day
28

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 1                    meet & confer deadline was 7-5-2019, meaning that Plaintiff’s attempted meet &
 2                    confer of 7-22-2019 was not timely.

 3             d.     I expressed to Plaintiff my additional concern with why his declaration fails to state
 4                    that he emailed the proposed Joint Pre Trial to Defendant that is listed in the Order

 5                    Granting Bereliani's Motion to Withdraw as Counsel of Record [Doc-16] and in the

 6                    PACER docket nsilao@aol.com?
 7             e.     I expressed to Plaintiff my additional concern with Plaintiff’s Declaration in support

 8                    of the Unilateral Pre Trial that states: "On or about July 29, 2019, my office sent
 9                    Defendant Nicholas Silao at the address listed on the adversary proceeding docket via
10                    Federal Express delivery the Joint PreTrial Stipulation." I informed counsel that

11                    Defendant claims and insists that he does not recall receiving any such Joint Pre Trial
12                    Stipulation, and I requested that Plaintiff provide me with his 7-29-2019 letter, the
13                    FEDEX slip, and the proposed JPS of 7-29-2019. To my surprise, rather than simply
14                    send them to me, Plaintiff stonewalled him with his non-response of 8-11-2019. So I
15                    had no copy of Plaintiff’s Joint Pretrial that he allegedly sent to work from.

16   26.       Regarding the last point of my letter to demonstrate that Defendant has evidence to dispute
17             Plaintiff’s turnover claim for $137,000.00, that he has witnesses and exhibits re same, I
18             produced these documents to counsel sight unseen, without the Plaintiff having to formally
19             demand them from Defendants to substantiate Defendant’s claim that he has exhibits to
20             support his defense:

21             a.     RFA # 4. The Debtor did not lend $137,000 to Defendant. The facts will reveal just
22                    the opposite: My client lent Pandora $442, 00.00.

23             b.     RFA # 5. Defendant does not owe the Plaintiff $137,000 (plus any and all costs of

24                    collection).
25             c.     RFA # 6. Plaintiff is not entitled to pre-judgment interest as provided under applicable

26                    non-bankruptcy law.

27             d.     RFA # 7. Defendant, Nicholas Silao has defenses to Plaintiff’s demand for $137,000,

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 1                    as raised in Defendant’s Answer [Doc-4]. Again, the Debtor did not lend $137,000 to
 2                    Defendant. The facts will reveal just the opposite: My client lent Pandora $442,

 3                    00.00.
 4             e.     RFA # 8. Defendant has facts that dispute Plaintiff’s entitlement to $137,000

 5                    demanded in the Trustee’s Complaint.

 6             f.     RFA # 9. Defendant has documents, notes or other writings that dispute the Plaintiff’s
 7                    entitlement to $137,000 demanded in the Trustee’s Complaint.

 8   27.       Regarding the exhibits, Cohen presented to Plaintiff:
 9             a.     Pandora’s loan report to the Silao brothers reflecting that during the period of 12-16-
10                    2013 - 5-20-2015, Defendant lent Pandora approximately $442,000.00 (and that his

11                    brothers Michael Silao lent Pandora $70,000.00, Sam Silao lent Pandora $6,000.00,
12                    & Ray Silao lent Pandora $143,911.37, totaling $662,411.37).
13             b.     The last page of Pandora’s 2014 tax return (FYE 12-31-2014) Form 1120, Page 5,
14                    Schedule L, Line 19, entitled: “Loans from Shareholders” showing that my client was
15                    owed $389,750.00 by Pandora for that year (“Loan Payable N Silao”);

16             c.     The last page of Pandora’s 2015 tax return (FYE 12-31-2015) Form 1120, Page 5,
17                    Schedule L, Line 19, entitled: “Loans from Shareholders” showing that my client was
18                    owed between $389,750.00 - $297,250.00 by Pandora for that year (“Loan Payable
19                    N Silao”);
20             d.     Pandora’s Balance Sheet as of 12-31-2015, under the section entitled: “Liabilities &

21                    Equity” reflecting “Loan/Financing Payable N. Silao $297,250.00;
22             e.     The last page of Pandora’s 2016 tax return (FYE 12-31-2016) Form 1120, Page 5,

23                    Schedule L, Line 19, entitled: “Loans from Shareholders” showing that my client was

24                    owed between $297,250.00 - $295,250.00 by Pandora for that year (“Loan Payable N
25                    Silao”);

26             f.     Pandora’s (9) checks to my client that contain the notation: “Reimbursement - Loan:”

27                    i.       Pandora’s 7-31-2015 check # 9001 to Defendant for $25,000.00;
28

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 1                    ii.     Pandora’s 9-4-2015 check # 9002 to Defendant for $25,000.00 contains the
 2                            notation: “Loan Repayment;”

 3                    iii.    Pandora’s 9-15-2015 check # 1112 to Defendant for $2,500.00 contains the
 4                            notation: “Reimbursement - Loan;”

 5                    iv.     Pandora’s 10-9-2015 check # 9003 to Defendant for $25,000.00 contains the

 6                            notation: “Loan Repayment;”
 7                    v.      Pandora’s 10-15-2015 check # 1130 to Defendant for $2,500.00 contains the

 8                            notation: “Reimbursement;”
 9                    vi.     Pandora’s 11-1-2015 check # 1131 to Defendant for $2,500.00 contains the
10                            notation: “Reimbursement;”

11                    vii.    Pandora’s 11-2-2015 check # 0005 to Defendant for $25,000.00 contains the
12                            notation: “Loan Repayment;”
13                    viii.   Pandora’s 12-1-2015 check # 1132 to Defendant for $2,500.00 contains the
14                            notation: “Reimbursement;”
15                    ix.     Pandora’s 12-2-2015 check # 8655 to Defendant for $25,000.00 contains the

16                            notation: “Loan Repayment.”
17   28.       Regarding the witnesses, I disclosed to counsel: RFA # 10. Defendant has witnesses that
18             dispute the Trustee’s entitlement to $137,000 demanded in the Trustee’s Complaint:
19             Defendant; the other Silao brothers; Pandora’s CPA Rufino Reyes Magpayo.
20   29.       My letter recommended that the parties push “reset” on this case: (1) so that Plaintiff can

21             provide me with all of the above-requested documents; (2) to stipulate to withdraw the
22             deemed admissions; (3) to allow Defendant to respond to Plaintiff’s discovery; (4) to allow

23             Defendant to participate meaningfully to the Joint Pre Trial report; & (5) to stipulate to

24             continue the pre-trial to a mutually agreeable date. I concluded that I believe that the Court
25             would prefer to try the case on the merits rather than granting the Plaintiff defaults against an

26             in pro per defendant based on the above. I was even so bold as to suggest that since Plaintiff’s

27             case appears to be solely predicated on a 2016 tax return, that upon Plaintiff verifying the
28

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 1             Defendant’s evidence, that the Plaintiff consider dismissing this adversary complaint. I truly
 2             believed I was being completely reasonable and practical, given the situation that I found

 3             myself in. My requests to see Plaintiff’s Initial Disclosures, Discovery, and proof of his meet
 4             & confer compliance, are completely legitimate, not being made for any improper4 purpose.

 5             One would think, that a Plaintiff would agree to produce the aforementioned and stipulate to

 6             continue the pretrial - especially in light of his late compliance with LBR 7016-1(b)(1)© - to
 7             allow the defendant to participate meaningfully in his defense. Instead, and to my surprise,

 8             rather than simply send them to me, Plaintiff stonewalled me with his non-response of 8-11-
 9             2019.
10   30.       On 9-4-2019, I wrote Plaintiff again. “ am writing you to meet & confer regarding: (1) the

11             proposed Joint Pre Trial Stipulation; (2) the proposed Motion in Limine, & (3) the proposed
12             Motion to Withdraw the Deemed Admissions pursuant to F.R.C.P. § 36(b). As I wrote you
13             on 8-9-2019, I’m running blind here, because I do not have: (1) Plaintiff’s F.R.C.P. 26 Initial
14             Disclosures; & (2) Plaintiff’s written discovery including Plaintiff’s Request for Admissions
15             ("RFA's"). Both Ms. Bereliani and my client informed me that they do not have copies of

16             them. Accordingly, please provide them to me. If I do not receive them from you, I will have
17             no choice but to file the proposed motions. As I indicated in Defendant’s 8-12-2019 Unilateral
18             Pre-Trial Report [Doc-28], Defendant intends to file a Motion in Limine to exclude Plaintiff’s
19             evidence at trial, based on Plaintiff’s failures to comply with FRCP 26. Your cooperation in
20             providing me with the requested documents will impact greatly on whether I will file the

21             Motion in Limine or not. I also indicated that Defendant intends to file a Motion to Withdraw
22             the Deemed Admissions pursuant to F.R.C.P. § 36(b), based on my client’s representation that

23             he never received Plaintiff’s (alleged) Request for Admissions. Please advise if Plaintiff will

24             stipulate to withdraw the deemed admissions and I will gladly prepare the stipulation and
25             order. To expedite the process, enclosed please find Defendant’s Verified Response to

26             Request for Admissions that is based on Plaintiff’s Unilateral PreTrial Report that identified

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 1             the six (6) Requests for Admission.25
 2   31.       On 9-11-2019, Plaintiff responded: “Baruch, I never received a response from you last week

 3             regarding the Meet and Confer issues noted in your 9/4/11 faxed letter. I had proposed a
 4             "Meet and Confer" telephone call for Friday September 6, 2019 but never heard back from

 5             you. Secondly, I don't understand the legal effect if any of the verified responses included with

 6             your 9/4/19 fax. Rather, I've enclosed the RFAs that were properly served on your client's
 7             former counsel at her address of record in the above-captioned Adversary proceeding. Thus

 8             pursuant to F.R.C.P. 36 (made applicable to this Adversary Proceeding per Rule 7036 of the
 9             Fed Rules of Bankr Procedure) the unresponded to RFAs are still, enforceable and we intend
10             to use them until there's a court order to the contrary. Any questions or comments, please let

11             me know. thanks.” Plaintiff attached a copy of an RFA.26
12   32.       On 9-11-2019, I responded: “Tom: I do not recall you proposing, and me accepting, a
13             proposed meet & confer with me on 9-6-2019. But I'm happy to do so immediately. I also
14             want to state emphatically, that Berliani did not share your RFA with me, and that Nick Silao
15             swears over a stack of bibles that he never received them. Finally, I need to see your Initial

16             Disclosures. As I’m sure you know, F.R.C.P. 26(d)(1) prohibits discovery before the parties
17             have met & conferred as required by F.R.C.P. 26(f). If you did not do a F.R.C.P. 26 Initial
18             Disclosure, the RFA's would be improper. If you did do a F.R.C.P. 26 Initial Disclosure,
19
20

21
               25
22            A true and correct copy of Cohen’s 9-4-2019 Meet & Confer letter Re: Proposed Joint Pre
     Trial Stipulation; Proposed Motion in Limine, & Proposed Motion to Withdraw the Deemed
23   Admissions pursuant to F.R.C.P. § 36(b) and Defendant’s Verified Response to Request for
     Admissions that is based on Plaintiff’s Unilateral PreTrial Report that identified the six (6) Requests
24
     for Admission is attached hereto as Exhibit “10” and is incorporated herein by this reference.
25             26
               A true and correct copy of Plaintiff’s counsel’s email of 9-11-2019 is attached hereto as
26   Exhibit “11” and is incorporated herein by this reference. While Defendant’s counsel would not
     accuse Plaintiff’s counsel of forging the Request for Admission, one can easily be generated, and
27   backdated, without any independent way of verifying that it is authentic. Of particular note is that
     Plaintiff presented no proof that the RFA was actually mailed to Berliani.
28

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1              please provide it to me. I've now asked you for this twice.”27
2    33.       On 9-11-2019 I wrote Berliani informing her that Plaintiff sent me an RFA that purports to

3              have been served on her office on 3-7-2019 at your address "Sanaz S. Bereliani, Bereliani
4              Law Firm, 11400 W. Olympic Blvd., Suite 200, Los Angeles, CA 90064. On 3-15-2019, she

5              moved to withdraw as counsel to Defendant. So she must have had the 3-7-2019 RFA's in her

6              file before she moved to withdraw on 3-15-2019. Yet, she did not produce it to Defendant or
7              to me in violation of Rule 4-100(b)(4). I was very concerned that she had this RFA in her file

8              and did not produce it when Defendant demanded it. So I asked her again: “Did Plaintiff send
9              you Plaintiff's FRCP 26 Initial Disclosures? If so, please send it. Was any discovery done in
10             this adversary? If so, please send them.” I was very concerned that now the RFA's are deemed

11             admitted, and Defendant will now have to spend money to file a Motion to have the Deemed
12             Admissions Withdrawn, which he should not have to do, had she forwarded to him the RFA's
13             when you received it on 3-7-2019.28
14   34.       On 9-12-2019, I spoke with Berliani, who represented that the only documents she had in her
15             file were those that she forwarded to me earlier. When pressed again whether she had the RFA

16             in her file and whether she had Plaintiff's FRCP 26 Initial Disclosures, she repeated again,
17             that the only documents she had in her file were those that she forwarded to me earlier.
18   35.       On 9-17-2019, I wrote Plaintiff’s counsel to meet & confer and sent him a Proposed Joint
19             Stipulation in Connection with Defendant’s Motion to Allow Withdrawal of Deemed
20             Admissions F.R.C.P. § 36(B) (“Proposed Joint Stipulation”).29

21   36.       On 9-17-2019, Plaintiff’s counsel wrote back declining to participate in the Proposed Joint
22
               27
             A true and correct copy of Cohen’s 9-11-2019 letter to Plaintiff is attached hereto as Exhibit
23   “12” and is incorporated herein by this reference.
24             28
             A true and correct copy of Cohen’s 9-11-2019 letter to Berliani is attached hereto as Exhibit
25   “13” and is incorporated herein by this reference.
               29
26            A true and correct copy of Cohen’s 9-17-2019 meet & confer letter to Plaintiff and the
     Proposed Joint Stipulation in Connection with Defendant’s Motion to Allow Withdrawal of Deemed
27   Admissions F.R.C.P. § 36(B) is attached hereto as Exhibit “14” and is incorporated herein by this
     reference.
28

     1/22-2:55pm                                       -29-
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1              Stipulation.30
2    37.       On 9-25-2019, Defendant filed a Motion Defendants Motion To Allow Withdrawal Of

3              Deemed Admissions F.R.C.P. 36(B)[Doc-31].
4    38.       On 11-26-2019, This Court entered it’s Order Denying Motion To Allow Withdrawal Of

5              Deemed Admissions [Doc-33] on the sole basis that the parties did not meet and confer by

6              telephone.
7    39.       On 11-27-2019 I wrote Plaintiff’s counsel to meet and confer by telephone, which we did on

8              12-5-2019. All things being equal, I explained to Plaintiff’s counsel the above, and pointed
9              out that if Plaintiff failed to issue FRCP 26 Initial Disclosures that he would have entitled him
10             to conduct discovery. I asked Plaintiff’s counsel several times in the meet & confer

11             conversation to show me Plaintiff's FRCP 26 Initial Disclosures.
12   40.       On 12-16-2019, Plaintiff’s counsel sent me his contribution to the PROPOSED JOINT
13             STIPULATION IN CONNECTION WITH DEFENDANT’S MOTION TO ALLOW
14             WITHDRAWAL OF DEEMED ADMISSIONS F.R.C.P. § 36(B), which I incorporated,
15             and on 12-18-2019, Plaintiff’s counsel signed it.31

16   41.       Plaintiff’s counsel only contributed to the Statement of Facts, and did not contribute to the
17             Arguments of Law and Conclusion, and did not offer a Declaration.
18   42.       Bottom line, Plaintiff has still not produced to me Plaintiff's FRCP 26 Initial Disclosures that
19             would have entitled him to conduct discovery, despite being asked for this document at least
20             two times.

21
22             I declare under penalty of perjury under the laws of the United States and the State of

23   California that the foregoing is true and correct.

24
               30
25            A true and correct copy of Plaintiff’s 9-17-2019 letter is attached hereto as Exhibit “15” and
     is incorporated herein by this reference.
26
               31
             A true and correct copy of the Proposed Joint Stipulation in Connection with Defendant’s
27   Motion to Allow Withdrawal of Deemed Admissions F.R.C.P. § 36(B) is attached hereto as Exhibit
     “16” and is incorporated herein by this reference.
28

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 1   DATED: January 22, 2020
 2   By        /S/ Baruch C. Cohen

 3   Baruch C. Cohen, Esq.
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                  4929 Wilshire Boulevard, Suite 940, Los Angeles, California 90010.

A true and correct copy of the foregoing document entitled: DEFENDANT’S MOTION TO ALLOW WITHDRAWAL OF
DEEMED ADMISSIONS F.R.C.P. 36(B); DECLARATIONS OF BARUCH C. COHEN, NICHOLAS SILAO & SANAZ S.
BERELIANI will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
1/22/2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Baruch C Cohen                bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
Karl T Anderson (TR)          2edansie@gmail.com, kanderson@ecf.axosfs.com
Thomas J Polis (PL)           tom@polis-law.com, paralegal@polis-law.com; r59042@notify.bestcase.com
US Trustee (RS)               ustpregion16.rs.ecf@usdoj.gov


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On 1/22/2020, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 1/22/2020,, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Hon. Scott H. Yun, USBC, Central District of California, 3420 Twelfth Street, Suite 345, Riverside CA 92501




                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 1/22/2020                      Baruch C. Cohen, Esq.                                           /s/ Baruch C. Cohen
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
